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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

    SURESH PERSAD, DANIEL G.                     2:17-cv-12599-TGB-MKM
    WRIGHT, AND ROBERT S.
    DRUMMOND, individually and on
    behalf of all others similarly situ-
                                                       JUDGMENT
    ated,
                      Plaintiffs,
                                               HON. TERRENCE G. BERG
                            v.
    FORD MOTOR COMPANY,

                      Defendant.



      In accordance with the opinion and order issued on this date,
    granting Plaintiff’s Motion for Final Approval of Class Action Set-
    tlement (ECF No. 93);

      It is ORDERED AND ADJUDGED that the case be DIS-
    MISSED with prejudice and without costs.
         Dated at Detroit, Michigan: December 30, 2021.

                                            KINIKIA ESSEX
                                            CLERK OF THE COURT

                                            s/A. Chubb
                                            Case Manager and Deputy
                                            Clerk
    APPROVED:
    s/Terrence G. Berg
    HON. TERRENCE G. BERG
    UNITED STATES DISTRICT JUDGE
